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 1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
 2
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 3                                       )
        United States of America,        ) File No. 21-CR-108
 4                                       )           (PAM/TNL)
                Plaintiff,               )
 5                                       )
        vs.                              ) St. Paul, Minnesota
 6                                       ) May 7, 2021
        (2) Tou Thao,                    ) 8:06 a.m.
 7      (3) J. Alexander Kueng,          )
        (4) Thomas Kiernan Lane,         )
 8                                       )
                Defendants.              )
 9                                       )
       -----------------------------------------------------------
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13
                BEFORE THE HONORABLE ELIZABETH COWAN WRIGHT
14              UNITED STATES DISTRICT COURT MAGISTRATE JUDGE

15

16                            (INITIAL APPEARANCES)

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           Proceedings reported by court reporter; transcript
25     produced by computer.



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 1     APPEARANCES (Via Zoom):

 2      For the Plaintiff:            U.S. Attorney's Office
                                      W. ANDERS FOLK, ESQ.
 3                                    SAMANTHA TREPEL, ESQ.
                                      600 U.S. Courthouse
 4                                    300 South Fourth Street
                                      Minneapolis, Minnesota 55415
 5
        For Defendant Tou Thao:       Robert M. Paule, PA
 6                                    ROBERT M. PAULE, ESQ.
                                      NATALIE R. PAULE, ESQ.
 7                                    Suite 975
                                      920 Second Avenue South
 8                                    Minneapolis, Minnesota 55402

 9      For Defendant                 Plunkett Law Office
        J. Alexander Kueng:           THOMAS C. PLUNKETT, ESQ.
10                                    Suite 1500
                                      101 East Fifth Street
11                                    St. Paul, Minnesota 55101

12      For Defendant Thomas          Earl Gray Defense
        Kiernan Lane:                 EARL P. GRAY, ESQ.
13                                    Suite W-1610
                                      332 Minnesota Street
14                                    St. Paul, Minnesota 55101

15      Court Reporter:               LORI A. SIMPSON, RMR-CRR
                                      Suite 146
16                                    316 North Robert Street
                                      St. Paul, Minnesota 55101
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 1                            P R O C E E D I N G S

 2                                IN OPEN COURT

 3                                  (VIA ZOOM)

 4          (Defendants present)

 5                  THE COURT:   Good morning.    This is the United

 6     States District Court for the District of Minnesota, and we

 7     are here today for initial appearances in Case No. 21-CR-108

 8     (PAM/TNL).    I am Magistrate Judge Wright.

 9                  We are proceeding by video today in view of the

10     COVID-19 pandemic pursuant to the Coronavirus Aid, Relief,

11     and Economic Security Act, which permits the use of video

12     conferencing for initial appearances under Rule 5 and

13     pursuant to District of Minnesota General Order 27.

14                  As a reminder to all lawyers, parties, media, and

15     members of the public who may be observing, pursuant to

16     Rule 53 of the Federal Rules of Criminal Procedure, the

17     taking of photographs or the broadcasting of these

18     proceedings is strictly prohibited.

19                  Moreover, pursuant to amended General Order

20     No. 15, any photographing, recording, and rebroadcasting of

21     any part of this hearing is strictly prohibited and

22     violation of this prohibition may result in sanctions,

23     including removal of media credentials, restricted entry to

24     future proceedings, and any other sanctions deemed necessary

25     by the Court.



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 1                 With that, I will begin by asking attorneys to

 2     make their appearances, beginning with the attorneys for the

 3     United States.

 4                 MR. FOLK:    Good morning, Your Honor.      Anders Folk

 5     and Sam Trepel on behalf of the United States.

 6                 THE COURT:   All right.    Good morning, Mr. Folk and

 7     Ms. Trepel.

 8                 MR. FOLK:    Good morning.

 9                 THE COURT:   I will now ask the attorney for

10     Mr. Thao to make his appearance.

11                 MR. PAULE:   Good morning, Your Honor.       Robert

12     Paule and Natalie Paule on behalf of Mr. Thao, who is

13     present, Your Honor.     Good morning.

14                 THE COURT:   Good morning.

15                 And then the attorney for Mr. Kueng?

16                 MR. PLUNKETT:    Good morning, Your Honor.         Thomas

17     Plunkett on behalf of Mr. Kueng, who is present with me.

18                 THE COURT:   Okay.    Good morning to both of you.

19                 And then, finally, the attorney for Mr. Lane?

20                 MR. GRAY:    Good morning, Your Honor.      Earl Gray

21     representing Mr. Lane, who is present and seated in back of

22     me.

23                 THE COURT:   Okay.    Thank you.

24                 Now, we are holding the proceeding by video today.

25     So, first of all, I want to ask you all to let me know



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 1     immediately if any of you are having difficulty hearing or

 2     seeing what's going on so that we can get any IT issues

 3     sorted out.

 4                 I also need to confirm with each of the defendants

 5     individually that they understand that they have a right to

 6     an in-person initial appearance and confirm that he is

 7     consenting -- or I should say whether he is consenting to

 8     appear by video today instead of in person.

 9                 So I will just go around to each of you

10     individually and check in, and I'll begin with Mr. Thao.

11                 Mr. Thao, do you understand that you have the

12     right to have an in-person initial appearance today?

13                 DEFENDANT THAO:    Yes, ma'am.

14                 THE COURT:   Okay.    And although we're here by

15     video today, do you understand that the choice is yours to

16     decide if you want to go forward by video today or if you

17     want to have an in-person hearing?

18                 DEFENDANT THAO:    Yes, ma'am.

19                 THE COURT:   And are you agreeing now to hold your

20     initial appearance by video today?

21                 DEFENDANT THAO:    Yes, ma'am.

22                 THE COURT:   Okay.    Thank you, Mr. Thao.

23                 Let me now turn to Mr. Kueng, and I will have the

24     same questions for you.

25                 First of all, Mr. Kueng, do you understand that



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 1     you have the right to an in-person initial appearance today?

 2                 DEFENDANT KUENG:     I do, Your Honor.

 3                 THE COURT:   Okay.    And although, as I said, we're

 4     here by video, the choice is yours to decide whether you

 5     want to go forward by video or in person today.          Do you

 6     understand that?

 7                 DEFENDANT KUENG:     I do, Your Honor.

 8                 THE COURT:   And are you agreeing to go forward by

 9     video today?

10                 DEFENDANT KUENG:     Yes, Your Honor.

11                 THE COURT:   Okay.    Thank you, Mr. Kueng.

12                 And then, finally, Mr. Lane, same questions for

13     you.

14                 First of all, do you understand that you have the

15     right to an in-person hearing today?

16                 DEFENDANT LANE:    I do, Your Honor.

17                 THE COURT:   And specifically do you understand

18     that you get to make the choice whether we go forward by

19     video or in person today?

20                 DEFENDANT LANE:    Yes, I do, Your Honor.

21                 THE COURT:   And are you agreeing to go forward by

22     video today?

23                 DEFENDANT LANE:    I am, Your Honor.

24                 THE COURT:   Okay.    Thank you, Mr. Lane.

25                 Mr. Folk, is there any objection from the



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 1     government to proceeding by video today?

 2                 MR. FOLK:    No, Your Honor.    Thank you.

 3                 THE COURT:   Okay.    Thank you.

 4                 And let me check in, Mr. Paule, any objections or

 5     concerns that you want to raise on behalf of your client

 6     proceeding by video?

 7                 MR. PAULE:   No, Your Honor.     Thank you.

 8                 THE COURT:   Thank you.

 9                 Mr. Plunkett, any objections or concerns?

10                 MR. PLUNKETT:    No, Your Honor.

11                 THE COURT:   And, finally, Mr. Gray, any objections

12     or concerns?

13                 MR. GRAY:    No, Your Honor.

14                 THE COURT:   Okay.    Thank you all.    So with the

15     consent of all three defendants and in the absence of

16     objections, we will proceed by video today.

17                 The purpose of the initial appearance is to, first

18     of all, advise the defendants of their rights under the laws

19     and Constitution of the United States.         Second, although I

20     understand each of the defendants is here with private

21     counsel today, I will confirm with them that they understand

22     their right to counsel and whether they want to proceed with

23     their private lawyers or if they want to obtain the services

24     of the Federal Defender.      I will also confirm with each of

25     the defendants that he understands why he is before the



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 1     Court today.    We will have a discussion about release or

 2     detention pending further proceedings.        And then, finally,

 3     to the extent there are additional follow-up items to take

 4     care of following this proceeding, I will advise the parties

 5     and the lawyers of those obligations.

 6                 So let me first advise the defendants of their

 7     rights, and then I'm going to ask each of you individually

 8     if you heard and understand them.       So please do listen

 9     carefully because, of course, these are important.

10                 You have the right to remain silent and not to

11     answer the questions of any law enforcement officer

12     whatsoever.    You can give up your right to remain silent and

13     answer questions if you wish to.       The choice is yours.    If

14     you do give up your right to remain silent and if you do

15     answer questions, anything you say can and will be used

16     against you in court.

17                 You also have the right to be represented by an

18     attorney whenever you are being questioned; and if you

19     cannot afford an attorney, the Court will appoint one to

20     represent you free of charge.

21                 Finally, you have these rights at all times and

22     you can assert them at any time.

23                 Before I turn to the individual defendants, I'm

24     going to provide the government with the Brady Rule 5(f)

25     warning, an order that is required by Congress.          As required



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 1     by Rule 5(f) of the Rules of Criminal Procedure, the United

 2     States is ordered to disclose to the defendants all

 3     exculpatory evidence, that is, evidence that favors the

 4     defendant or casts doubt upon the United States' case, as

 5     required by Brady vs. Maryland and its progeny.          Not doing

 6     so in a timely manner may result in consequences, including,

 7     but not limited to, exclusion of evidence, adverse jury

 8     instructions, dismissal of charges, contempt proceedings,

 9     disciplinary action, or sanctions by the Court.

10                  Mr. Folk, does the government understand its

11     obligations and my order?

12                  MR. FOLK:    Yes, Your Honor.

13                  THE COURT:   Thank you.   Mr. Folk, is there a

14     motion to unseal?

15                  MR. FOLK:    Yes, Your Honor.   The government would

16     move to unseal CR-21-108 as well as 21-CR-109.

17                  THE COURT:   Thank you, Mr. Folk.

18                  Is there any objection, Mr. Paule, to the motion

19     to unseal?

20                  MR. PAULE:   No, Your Honor.

21                  THE COURT:   Okay.   Mr. Plunkett, any objection?

22                  MR. PLUNKETT:   No, Your Honor.

23                  THE COURT:   Thank you.   And, Mr. Gray, any

24     objection?

25                  MR. GRAY:    No, Your Honor.



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 1                 THE COURT:    All right.    Thank you all.    The

 2     government's motion to unseal Case 21-CR-108 and

 3     Case 21-CR-109 is granted and those cases will be unsealed.

 4                 Let me now proceed with each defendant

 5     individually, beginning with Mr. Thao.

 6                 Mr. Thao, if you could please state your full name

 7     for the record and spell your last name.

 8                 DEFENDANT THAO:     First name Tou.    Last name Thao,

 9     T-h-a-o.

10                 THE COURT:    Okay.   Thank you.    And how old are

11     you, sir?

12                 DEFENDANT THAO:     35.

13                 THE COURT:    Okay.   And I read and advised the

14     rights to all defendants a few minutes ago.          Were you able

15     to hear all of those clearly?

16                 DEFENDANT THAO:     I did, Your Honor.

17                 THE COURT:    Okay.   And do you understand them?

18                 DEFENDANT THAO:     Yes, Your Honor.

19                 THE COURT:    Do you understand that you can claim

20     them at any time?

21                 DEFENDANT THAO:     Yes, Your Honor.

22                 THE COURT:    Okay.   Now, you are here today,

23     Mr. Thao, because a grand jury has returned an Indictment

24     dated May 6, 2021.      I want to make sure that you understand

25     the charges that you face in that Indictment.          Have you



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 1     reviewed the Indictment?

 2                  DEFENDANT THAO:    Yes, Your Honor.

 3                  THE COURT:   Okay.   And do you understand the

 4     charges that you face?

 5                  DEFENDANT THAO:    Yes, Your Honor.

 6                  THE COURT:   Okay.   Now let's talk about your legal

 7     representation.     I see that you have Mr. Paule here with you

 8     today.    And, as I said, you are entitled to an attorney in

 9     this case; and if you can't afford one, the Court will

10     appoint one to represent you at no cast.

11                  Do you wish to consider -- excuse me.       Do you wish

12     to continue with Mr. Paule's representation or do you want

13     the Court to consider appointing the Federal Defender to

14     represent you?

15                  DEFENDANT THAO:    I will stay with Mr. Paule,

16     sir -- excuse me, ma'am.

17                  THE COURT:   That's fine.    Okay.   Mr. Thao, I have

18     made a note of that.

19                  All right.   Let's turn to the question of

20     detention.    Mr. Folk, is the government seeking detention of

21     Mr. Thao?

22                  MR. FOLK:    It is not, Your Honor.     We are

23     comfortable with the conditions that are outlined in the

24     Pretrial Services report.

25                  THE COURT:   Okay.   All right.    Thank you,



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 1     Mr. Folk.

 2                 So, Mr. Thao, the government is not seeking to

 3     detain you pending trial.       And the United States Probation

 4     and Pretrial Services Office has prepared some draft

 5     conditions of release for you, which I have reviewed, and I

 6     do find that those conditions will reasonably assure your

 7     appearance at future proceedings as required and the safety

 8     of the community.     So you will be released on those

 9     conditions while your case is pending.         I'm going to just

10     briefly summarize those conditions.

11                 First of all, you need to appear for all court

12     proceedings, of course.

13                 If you are convicted, you must surrender to serve

14     a sentence that the Court may impose.

15                 You will be required to execute a $25,000

16     unsecured bond.

17                 You may not violate any federal, state, or local

18     law.

19                 And then, finally, you must submit to and

20     cooperate with a Pretrial Services interview, which will be

21     completed on or before May 11, 2021.

22                 Now, Mr. Thao, you will be getting these

23     conditions in writing after this proceeding, but I want to

24     check and see, do you have any questions about your

25     conditions right now?



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 1                 DEFENDANT THAO:     I do not, Your Honor.

 2                 THE COURT:    Okay.   And, Mr. Thao, there could be

 3     serious penalties and sanctions if you do not comply with

 4     those conditions, including a revocation of your release and

 5     bond, imprisonment, or a fine.       Do you understand that there

 6     could be very serious consequences if you don't comply with

 7     those conditions?

 8                 DEFENDANT THAO:     I do, Your Honor.

 9                 THE COURT:    Okay.   All right.    With that, I will

10     execute the appropriate paperwork after this hearing and it

11     will be provided to duty chambers, who will then provide it

12     to your lawyer for signature.       And, as I said, you will be

13     released on those conditions.

14                 Further, Mr. Thao is ordered to comply with the

15     lawyers for the United States' directions with regard to his

16     booking and processing today.

17                 All right.    Let me now turn to Mr. Kueng.

18     Mr. Kueng, if you could go ahead and state your full name

19     for the record, please, and spell your last name.

20                 DEFENDANT KUENG:      Yes, Your Honor.    J. Alexander

21     Kueng, K-u-e-n-g.

22                 THE COURT:    All right.      And, Mr. Kueng, you can

23     see we have a court reporter here, and I am going to ask you

24     just to speak up a little bit going forward so I can make

25     sure that she can hear you.       Okay?



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 1                 DEFENDANT KUENG:      No problem, Your Honor.

 2                 THE COURT:    Perfect.      Thank you.

 3                 All right.    Can you please state your age.

 4                 DEFENDANT KUENG:      27.

 5                 THE COURT:    Okay.   Thank you, Mr. Kueng.         Now, did

 6     you hear me advise you of all of those rights a few minutes

 7     ago?

 8                 DEFENDANT KUENG:      I did, Your Honor.

 9                 THE COURT:    And do you understand them?

10                 DEFENDANT KUENG:      I do, Your Honor.

11                 THE COURT:    Do you understand that you can claim

12     them at any time?

13                 DEFENDANT KUENG:      I understand, Your Honor.

14                 THE COURT:    All right.     Thank you, Mr. Kueng.

15     Now, you are here because a grand jury has returned an

16     Indictment against you dated May 6th of 2021.          Do you

17     understand the charges that you face in that Indictment?

18                 DEFENDANT KUENG:      I do, Your Honor.

19                 THE COURT:    All right.     And I see that you are

20     here today with Mr. Plunkett.        As I said, if you cannot

21     afford an attorney in this case, the Court would appoint one

22     to represent you because you are entitled to an attorney.

23                 Do you wish to continue with Mr. Plunkett's

24     representation or would you like the Court to consider

25     appointing the Federal Defender to represent you?



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 1                  DEFENDANT KUENG:     I wish to continue with

 2     Mr. Plunkett, Your Honor.

 3                  THE COURT:   Okay.   Thank you.

 4                  Let me just check in with Mr. Folk.       Mr. Folk, is

 5     the United States seeking detention of Mr. Kueng?

 6                  MR. FOLK:    No.   Thank you, Your Honor.    We again

 7     agree with the conditions in the Pretrial Services report.

 8     Thank you.

 9                  THE COURT:   Okay.   Thank you, Mr. Folk.

10                  Mr. Plunkett [sic], the conditions that Pretrial

11     Services has proposed are the same as those I just provided

12     for Mr. Thao.     I do find that those conditions will

13     reasonably assure both your appearance at future proceedings

14     and the safety of the community if you are released on those

15     conditions.

16                  Would you like me to go through those conditions

17     again for you, Mr. Kueng, or were you able to hear and

18     process them when I went through them the first time?

19                  THE DEFENDANT:     I was able to hear and process

20     them the first time, Your Honor.        Thank you.

21                  THE COURT:   Okay.   Thank you, Mr. Kueng.         And you

22     will also be provided those conditions in writing after this

23     hearing.

24                  I do want to again remind you that if you do not

25     comply with your conditions, there could be serious



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 1     penalties and sanctions, including revocation of your

 2     release and bond, imprisonment, or a fine.         Do you

 3     understand that, sir?

 4                  DEFENDANT KUENG:     I do, Your Honor.

 5                  THE COURT:   Okay.   So that paperwork I will

 6     execute after this hearing, and it will be provided to your

 7     lawyer for you to complete and execute as well.

 8                  In addition, Mr. Kueng is ordered to comply with

 9     the lawyers for the United States' directions for his

10     booking and processing today.

11                  All right.   And then, Mr. Lane, if you could

12     please state your full name for the record and spell your

13     last name.

14                  DEFENDANT LANE:    Yes, Your Honor.     It's Thomas

15     Kiernan Lane, T-h-o-m-a-s, K-i-e-r-n-a-n, last name Lane,

16     L-a-n-e.

17                  THE COURT:   Okay.   Thank you, Mr. Lane.      And how

18     old are you?

19                  DEFENDANT LANE:    I am 38 years old.

20                  THE COURT:   All right.    And were you able to hear

21     me when I was advising all of the defendants of their

22     rights?

23                  DEFENDANT LANE:    Yes, Your Honor.

24                  THE COURT:   Okay.   And do you understand your

25     rights, Mr. Lane?



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 1                 DEFENDANT LANE:     I do.

 2                 THE COURT:    And do you understand that you can

 3     claim them at any time?

 4                 DEFENDANT LANE:     Yes, Your Honor.

 5                 THE COURT:    Okay.   Now, you are here today because

 6     a grand jury has returned an Indictment against you dated

 7     May 6th of 2021.     Do you understand the charges that you

 8     face in that Indictment?

 9                 DEFENDANT LANE:     I do, Your Honor.

10                 THE COURT:    All right.    Thank you, Mr. Lane.    Then

11     let me turn to the topic of your legal representation.          As I

12     have advised you and the other defendants, Mr. Thao and

13     Mr. Kueng, you, of course, are entitled to an attorney to

14     represent you in this matter.       If you cannot afford one, the

15     Court will appoint one to represent you at no cost to you.

16                 I see you are represented by Mr. Gray today.        Do

17     you want to continue with Mr. Gray's services or would you

18     like the Court to consider appointing the Federal Defender?

19                 DEFENDANT LANE:     I will stay with Mr. Gray, Your

20     Honor.

21                 THE COURT:    Okay.   Thank you.

22                 All right.    Let me just check in with Mr. Folk

23     with regard to the issue of detention.         Is the government

24     seeking detention of Mr. Lane pending further proceedings?

25                 MR. FOLK:    No, Your Honor.     Again we will agree to



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 1     the conditions in the Pretrial Services report.

 2                 THE COURT:    Okay.   Thank you.

 3                 Mr. Lane, do you want me to go through the

 4     conditions that were proposed?       They are the same as those

 5     for Mr. Thao and Mr. Kueng.       I am happy to go through them,

 6     but if you think you heard them the first time, I can --

 7                 THE DEFENDANT:     I think I understand them.       Thank

 8     you, Your Honor.

 9                 THE COURT:    Okay.   All right.    Thank you,

10     Mr. Lane.    So I do find that the conditions that have been

11     proposed by Pretrial Services, including the execution of a

12     $25,000 unsecured bond and submission to the Pretrial

13     Services interview on or before May 11th, in addition to the

14     other conditions, will reasonably assure Mr. Lane's

15     appearance as required at future proceedings and the safety

16     of the community and I will order all three of the

17     defendants released on the same conditions.

18                 Mr. Lane, I do want to check in and make sure that

19     you understand if you violate those conditions, there could

20     be very serious penalties and sanctions, including

21     revocation of the bond and release, imprisonment, or a fine.

22     Do you understand that, Mr. Lane?

23                 DEFENDANT LANE:     Absolutely, Your Honor.

24                 THE COURT:    Okay.   All right.    Thank you.      And

25     then Mr. Lane is also ordered to comply with the directions



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 1     issued by the attorneys for the government for his booking

 2     and processing today.

 3                 An order setting a schedule in this case will

 4     issue in due course.      I believe that covers everything for

 5     this initial appearance, but I will check in with each of

 6     the lawyers.

 7                 Mr. Folk, is there anything further for the United

 8     States?

 9                 MR. FOLK:    No.    Thank you, Your Honor.

10                 THE COURT:    Okay.   Thank you, Mr. Folk.

11                 Mr. Paule, is there anything further for Mr. Thao?

12                 MR. PAULE:    No, Your Honor.     Thank you.

13                 THE COURT:    Mr. Plunkett, is there anything

14     further for Mr. Kueng?

15                 MR. PLUNKETT:      Nothing further, Your Honor.

16                 THE COURT:    Okay.   And then, finally, Mr. Gray, is

17     there anything further for Mr. Lane?

18                 MR. GRAY:    I just have a question.      This is

19     CR-108, and CR-109 was also mentioned.         We're only here on

20     CR-108, correct?

21                 THE COURT:    That's correct, Mr. Gray.      Your client

22     is here on CR-108.

23                 MR. GRAY:    Okay.    Is he indicted in 109 too or is

24     this the only --

25                 THE COURT:    No.    Your client is indicted in CR-108



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 1     and is not indicted in CR-109.

 2                 MR. GRAY:    All right.     Thank you, Your Honor.

 3     That's all.

 4                 THE COURT:    You're welcome.

 5                 All right.    Thank you all.      We are in recess.

 6                 MR. PLUNKETT:       Thank you, Your Honor.

 7                 MR. PAULE:    Thank you, Your Honor.

 8          (Court adjourned at 8:24 a.m.)

 9                                 *       *     *

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12                I, Lori A. Simpson, certify that the foregoing is a

13     correct transcript from the record of proceedings in the

14     above-entitled matter.

15

16                      Certified by:      s/ Lori A. Simpson

17                                         Lori A. Simpson, RMR-CRR

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